Case 3:20-cv-05218-JBD       Document 33-3       Filed 02/11/22   Page 1 of 21 PageID: 443




               IN THE UNITED STATES DISTRICT COURT FOR THE
                          DISTRICT OF NEW JERSEY

  M.A.,                                      )
                                             )
                       Plaintiff,            )
  v.                                         )   Case No. 3:20-cv-05218-FLW-LHG
                                             )
                                             )
                                             )
  WALL TOWNSHIP BOARD OF                     )   Judge: Freda L. Wolfson
  EDUCATION,                                 )
                                             )   Magistrate: Lois H. Goodman
                       Defendant.            )
                                             )
                                             )   MOTION DATE:

                CERTIFICATION OF ROBERT C. THURSTON, ESQ.

        I, Robert C. Thurston, Esq., declare and certify as follows:

        1.      I am an attorney at law, admitted to practice before this Court and co-

 counsel of record for Plaintiff in this matter.

        2.      I make this certification based on my own personal knowledge and am

 capable of testifying to all of the facts contained herein if called upon to do so.

        3.      I am an attorney licensed to practice in the State of New Jersey and I

 focus my practice in the field of special education law in that jurisdiction. My

 educational background and legal experience are accurately represented in my

 attached curriculum vitae. (A true and correct copy of a current cv is attached

 hereto as Exhibit A.)




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        4.     As will be noted from my attached cv, I have handled cases at all

 levels, including appeals to the 3rd, 6th, and 9th Circuit Courts of Appeal and two

 petitions for certiorari to the U.S. Supreme Court. I have also handled several

 cases in this Court, as well as other federal district courts around the United States

 including without limitation Hawaii, Tennessee, and the U.S. Virgin Islands.

        5.     I am familiar with the fees charged by plaintiffs’ counsel in special

 education, civil rights and disability matters in most of the jurisdictions within the

 United States Third Circuit. This is a highly complex area of law, requiring

 expertise in the substantive law of special education as well as litigation experience

 in both the administrative level as well as the state and federal court systems.

        6.     I was hired by Plaintiffs to work with their lead counsel John Rue &

 Associates to assist with this fee petition and the remand of the case to the OAL.1

        7.     During the period of time that I was retained to represent Plaintiff in

 this matter, my established billing rate for this special education case was $485.00

 per hour. My regular established billing rate for special education cases is $525.00

 per hour, but agreed to charge a lower rate as I am assisting lead counsel.

        8.     In another matter, this Court approved my previous rates of $375.00

 and $400.00 per hour and noted in its Opinion that those rates were on the lower



 1
  The remand has not yet begun, but is expected to resume shortly. No fees have
 been charged to the remand portion of the case.


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 end of the market. See Gresko v. Pemberton Twp. BOE, U.S.D.C. D.N.J. Civil

 Action No. 1:19-cv-00638 (NLH)(KMW) (Opinion, U.S.D.J. Hillman, October 13,

 2020, ECF #42, p. 24.)2

        9.     The Invoices reflecting my time working on this case on behalf of

 Plaintiffs up to the current date are attached hereto and reflect numerous hours of

 work at my billable rate of $485.00 per hour totaling $13,531.50. (True and

 correct copies of my invoices for this matter up to today are attached hereto as

 Exhibit B.)

        10.    The Invoices attached hereto represent my statements of professional

 services and detail the hours spent preparing and prosecuting this fee action and

 costs incurred.

        11.    Plaintiffs will continue to incur fees and costs in this fee petition case

 (“fees on fees”) the further this case progresses.



 Dated: February 9, 2022                  By: _________________________
                                                Robert C. Thurston, Esq.




 2
  This opinion can be found online at Google Scholar at this link:
 https://bit.ly/33elBzy


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                Exhibit A
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                                   Curriculum Vitae                 EXHIBIT A
                           ROBERT C. THURSTON, ESQ.
                               Thurston Law Offices LLC
                                100 Springdale Road A3
                                       PMB 287
                                 Cherry Hill, NJ 08003
                              Work Phone: 856.335.5291
                        Email: rthurston@schoolkidslawyer.com
                              Web: schoolkidslawyer.com

 PROFESSIONAL EXPERIENCE

 Thurston Law Offices LLC
 Cherry Hill, NJ (Prior locations in Pennsylvania and Illinois)
 Attorney / Owner – November 2005 to Present
     Solo law practice with focus on special education law, family law,
       disability law, bankruptcy, and guardianships
     Recently published 2nd edition of book “SchoolKidsLawyer’s Step-By-Step
       Guide to Special Education Law”
     Substantial volunteer and pro bono legal work through South Jersey
       Legal Services
     2007 Pro Bono Attorney of the Year awarded by the McHenry County (IL)
       Bar Association and Prairie State Legal Services

 Prior experience
 Available upon request

 BAR ADMISSIONS

 U.S. Supreme Court, 2018 (Active and in good standing)
 State Bar of New Jersey, 1988 (Active and in good standing)
 State Bar of Pennsylvania, 1987 (Retired)
 State Bar of Illinois, 1992 (Retired)
 U.S.C.A. 3rd Cir., 1989 (Active and in good standing)
 U.S.C.A. 9th Cir., 2016 (Active and in good standing)
 U.S.C.A. 6th Cir., 2019 (Active and in good standing)
 U.S.D.C. D.N.J., 1988 (Active and in good standing)
 U.S.D.C. E.D.Pa., 1989 (Retired)
 U.S.D.C. M.D.Pa., 2015 (Active and in good standing)
 U.S.D.C. N.D.Ill., 1993 (Retired)
 U.S.D.C. N.D.Cal., 1993 (Inactive)
 U.S.D.C. W.D.Mich., 1995 (Inactive)
 U.S.D.C. D.Colo., 2011 (Inactive)


 cv Robert C Thurston, Esq.
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 EDUCATION

 Ohio State College of Law
 Columbus, Ohio
 J.D. 1987
 Editor, Journal on Dispute Resolution

 University of Michigan
 Ann Arbor, Michigan
 B.A. 1984 with Distinction
 Economics and German


 SELECTED RELEVANT CASE EXPERIENCE

 Special Education Cases

 1. U.S. Supreme Court

 J.M., et al. v. Kathryn S. Matayoshi, et al., U.S. Sup. Ct. Case No. 18-641,
 Petition for Writ of Certiorari to the U.S. Supreme Court; Petitioner’s counsel
 [Cert. Denied]

 J.G., et al. v. State of Hawaii, Department of Education, et al., U.S. Sup. Ct.
 Case No. 19-658, Petition for Writ of Certiorari to the U.S. Supreme Court;
 Petitioner’s counsel [Cert. Denied]

 2. U.S. Courts of Appeal

 K.K-M., et al. v. New Jersey Department of Education, et al., U.S.C.A. 3rd Circuit,
 No. 18-2535; Appellants’ counsel [Briefed; No oral argument]

 D.T., et al. v. Sumner County Schools, U.S.C.A. 6th Circuit, No. 19-5070;
 Appellants’ counsel [Briefed; Oral Argument]

 J.M., et al. v. Kathryn S. Matayoshi, et al., U.S.C.A. 9th Circuit, No. 16-17327;
 Appellants’ counsel [Briefed; Oral Argument]

 J.G., et al. v. State of Hawaii, Department of Education, et al., U.S.C.A. 9th
 Circuit, No. 18-16538; Appellants’ counsel [Briefed; Oral Argument]

 J.G., et al. v. State of Hawaii, Department of Education, et al., U.S.C.A. 9th
 Circuit, No. 17-17190; Appellants’ counsel [Briefed; Oral Argument]


 cv Robert C Thurston, Esq.
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 3. U.S. District Courts

 J.A., et al. v. New Jersey Department of Education, et al. (Class Action), U.S.D.C.
 D.N.J., Civil No. 1:18-cv-9580-NLH-KMW; Lead counsel for Plaintiffs

 J.A., et al. v. Monroe Twp. Board of Education, U.S.D.C. D.N.J., Civil No. 1:18-
 cv-14838-NLH-KMW; Lead counsel for Plaintiffs

 K.K-M., et al. v. Gloucester City Public Schools, et al., U.S.D.C. D.N.J., Civil No.
 1:17-cv-11579-RBK-KMW; Lead counsel for Plaintiffs

 K.K-M., et al. v. Gloucester City Public Schools, et al., U.S.D.C. D.N.J., Civil No.
 1:19-cv-15808-RBK-KMW; Lead counsel for Plaintiffs

 M.D. and S.H. o/b/o L.D. v. Vineland City Board of Education d/b/a Vineland
 City Public Schools, U.S.D.C. D.N.J., Civil No. 1:19-cv-12154-NLH-JS; Lead
 counsel for Plaintiffs

 Gresko, et al. v. Pemberton Twp. Board of Education, U.S.D.C. D.N.J., Civil No.
 1:19-cv-00638-NLH-KMW; Lead counsel for Plaintiffs

 D.T., et al. v. Sumner County Schools, et al., U.S.D.C. M.D.Tenn., Civil No. 3:18-
 cv-388; Lead counsel for Plaintiffs, pro hac vice

 J.G., et al. v. State of Hawaii, Department of Education, et al., U.S.D.C. D.Hi.,
 Civil No. 1:17-cv-00503-DKW-KSC; Lead counsel for Plaintiffs, pro hac vice

 Howard G., et al. v. State of Hawaii, Department of Education, et al., U.S.D.C.
 D.Hi., Consolidated Civil Nos. 11-00523 DKW-BMK, 13-00029 DKW-BMK;
 Lead counsel for Plaintiffs on remand, pro hac vice

 Regina Pangerl, et al. v. Peoria Unified School Dist., U.S.D.C. D.Ariz., Civil No.
 2:14-cv-836-JJT; Lead counsel for Plaintiffs, pro hac vice

 Joan-Ann Anthony, et al. v. Government of the Virgin Islands, Dept. of Education,
 U.S.D.C. D.V.I., Civil No. 3:11-91; Lead counsel for Plaintiffs, pro hac vice

 4. State Appellate Courts

 K.K-M., et al. v. Board of Education of the City of Gloucester City, Camden
 County, N.J. App. Div. Docket No. A-001158-18 (Residency Appeal); Lead
 counsel for Appellants




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 5. Administrative Agencies

 K.K-M., et al. v. Gloucester City Public Schools, et al., New Jersey Office of
 Administrative Law, Docket Nos. EDS 18461-17 and 18462-17 [Consolidated];
 Lead counsel for Petitioners

 K.K-M., et al. v. Gloucester City Public Schools, et al., New Jersey Office of
 Administrative Law, Docket Nos. EDS 08360-2018 S, EDS 08361-2018 S, EDS
 09245-2018 S, and EDS 09247-2018 S [Consolidated]; Lead counsel for
 Petitioners

 K.K-M., et al. v. Gloucester City Public Schools, et al., New Jersey Office of
 Administrative Law, Docket Nos. EDS 08837-19 and EDS 08838-19
 [Consolidated]; Lead counsel for Petitioners

 J.A., et al. v. Monroe Twp. Board of Education, New Jersey Office of
 Administrative Law, Docket Nos. EDS 08588-17 and EDS 11524-18
 [Consolidated]; Lead counsel for Petitioners

 Monroe Twp. Board of Education v. J.A., et al., New Jersey Office of
 Administrative Law, Docket Nos. EDS 04281-2020 S; Lead counsel for
 Respondents

 K.C., et al. v. Cherry Hill Twp. Bd. Of Education, New Jersey Office of
 Administrative Law, Docket No. 18463-17; Lead counsel for Petitioners

 C.G. and J.G. o/b/o J.G. v. Pemberton Twp. Board of Education, New Jersey
 Office of Administrative Law, Docket No. EDS 06509-18; Lead counsel for
 Petitioners

 A.G. and J.F.G. o/b/o J.G. v. Elsinboro Twp. School District, New Jersey Office of
 Administrative Law, Docket No. EDS 06801-18; Lead counsel for Petitioners

 C.M. o/b/o L.S v. Monroe Twp. Board of Education, New Jersey Office of
 Administrative Law, Docket Nos. EDS 09541-18 and EDS 09544-18; Lead
 counsel for Petitioners

 C.M. and J.M. o/b/o R.M. v. Monroe Twp. Board of Education, New Jersey Office
 of Administrative Law, Docket Nos. EDS 18349-18 and EDS 18350-18; Lead
 counsel for Petitioners

 D.P. o/b/o K.P. v. Vineland City Board of Education d/b/a Vineland City Public
 Schools and Vineland Public Charter School, New Jersey Office of Administrative
 Law, Docket No. [UNASSIGNED/SETTLED]; Lead counsel for Petitioners


 cv Robert C Thurston, Esq.
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 Cherry Hill Public School Dist. v. A.Y., et al., New Jersey Dept. of Education,
 OSEP, Docket No. 2016-24216; Lead counsel for Respondent

 D.T., et al. v. Sumner County Schools, Tennessee Department of Administrative
 Procedures, Docket No. 07.03-152098J; Lead counsel for Petitioners, pro hac
 vice

 J.G., et al. v. State of Hawaii, Department of Education, Hawaii Office of
 Administrative Law, DOE-SY1617-067A; Consulting counsel for Petitioners

 P.M., et al. v. State of Hawaii, Department of Education, Hawaii Office of
 Administrative Law, DOE-SY1819-007; Consulting counsel for Petitioners

 C.B., et al. v. School Dist. of Philadelphia, Pennsylvania Office of Dispute
 Resolution, File Number 16302-1415KE; Lead counsel for Petitioners

 Other Federal Non-Special Education Cases of Note

 Schuler, et al. v. TRS Recovery Services, Inc., et al., U.S.D.C. M.D.Pa., Civil No.
 1:15-cv-2179-YK; Local counsel for Plaintiff in class action FDCPA case

 Linatex Ltd. v. Heritage Maintenance Products, LLC, U.S.D.C. E.D.Pa., Civil No.
 2:14-cv-06351; Local counsel for Plaintiff in trademark infringement case

 TotalFacility, Inc., et al. v. Dabek, et al., U.S.D.C. E.D.Pa., Civil No. 2:14-cv-
 05324-CDJ; Local counsel for Defendants in contract dispute

 Wells Fargo Bank, N.A. v. Siegel, U.S.D.C. N.D.Ill., Civil No. 05-civ-5635; Lead
 trial counsel for Defendant in alleged fraudulent futures options trading case
 (cited at 2007 WL 1686980)

 Pintlar Corporation, et al. v. Lloyd's London, et al., U.S.D.C. D.Idaho, Civil No.
 3:92-cv-00163-EJL; Lead counsel for Northbrook Ins. Co., pro hac vice, in
 insurance coverage case for environmental damage claims

 Illinois Central Railroad Co. v. Lloyd's, London, et al., U.S.D.C. S.D.Ill., Civil No.
 3:91-cv-00090-WLB; Lead counsel for International Surplus Lines Ins. Co. in
 insurance coverage case for noise-induced hearing loss FELA claims

 Illinois Central Railroad Co. v. Lloyd's, London, et al., U.S.D.C. S.D.Ill., Civil No.
 3:91-cv-00091-WLB; Lead counsel for International Surplus Lines Ins. Co. in
 insurance coverage case for environmental damage claims




 cv Robert C Thurston, Esq.
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 Norfolk & Western Railway Co. v. Accident & Casualty, et al., U.S.D.C. W.D.Va.,
 Civil No. 7:89-cv-00344-JCT; Lead counsel for Stonewall Ins. Co., pro hac vice,
 in insurance coverage case for noise-induced hearing loss FELA claims

 Gross Metal Products, Inc. v. Metal Finishing Fabricators, Inc., et al., U.S.D.C.
 E.D.Pa., Civil No. 86-5364; Assistant Counsel for Defendant Bleckner &
 Bleckner Ins. Agency in insurance coverage / E&O case


 PUBLICATIONS

 Book: SchoolKidsLawyer’s Step-By-Step Guide to Special Education Law, 2nd
 Edition, Amazin Blue Press LLC, 2020

 Book: SchoolKidsLawyer’s Step-By-Step Guide to IEPs – For Teachers, Amazin
 Blue Press LLC, 2020

 Book: SchoolKidsLawyer’s Step-By-Step Guide to IEPs – For Parents, Amazin
 Blue Press LLC, 2019

 Book: SchoolKidsLawyer’s Step-By-Step Guide to Special Education Law,
 Amazin Blue Press LLC, 2016

 School Kids Law Blog
 http://schoolkidslawyer.com/skl-blog/

 Chapter: “The Solo Lawyer’s Dilemma: Doing It All Without Staff,” Effectively
 Staffing Your Law Firm, 2nd Ed., jennifer j. rose, Editor, American Bar
 Association, 2017

 “Does Your Child’s ‘Ism’ Qualify For Special Education?”, Special-Ism.com,
 June 10, 2016, http://special-ism.com/qualify-special-education/

 “What Every Parent Should Know About Mediation,” Special Education Guide,
 January 2, 2014, http://www.specialeducationguide.com/blog/what-every-
 parent-should-know-about-mediation/

 “Making a Complaint About Your Child’s Special Education,” Special Education
 Guide, December 5, 2013,
 http://www.specialeducationguide.com/blog/making-a-complaint-about-your-
 childs-special-education/

 “Evaluating a Child for Disability: The Wrong Way and the Right Way,” Special-
 Ism.com, December 2, 2013, http://special-ism.com/evaluating-a-child-for-
 disability-the-wrong-way-and-the-right-way/

 cv Robert C Thurston, Esq.
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 “When Is It Time To Request An Independent Educational Evaluation (IEE)?,”
 Special Education Guide, September 25, 2013,
 http://www.specialeducationguide.com/blog/when-is-it-time-to-request-an-
 independent-educational-evaluation-iee/

 “NJ’s Gov. Chris Christie is Dyslexics’ Hero?,” Special-Ism.com, September 3,
 2013, http://special-ism.com/nj-gov-chris-christie-is-dyslexics-hero/

 “When is it Time to Contact a Special Education Lawyer?,” Special Education
 Guide, August 27, 2013, http://www.specialeducationguide.com/blog/when-
 is-it-time-to-contact-a-special-education-lawyer/

 “Playing (and Winning) the School District’s Game of Chicken,” Special
 Education Advisor, February 20, 2012,
 http://www.specialeducationadvisor.com/playing-and-winning-the-school-
 districts-game-of-chicken/

 “The Technology Threat to Work/Life Balance,” American Bar Association
 GPSolo Magazine, September 2012,
 http://www.americanbar.org/publications/gp_solo/2012/september_october/t
 echnology_threat_work_life_balance.html

 “Chapter 2: When You're The Lawyer, Secretary, Receptionist and Janitor:
 Doing It All Without Staff,” Effectively Staffing Your Law Firm, ABA Publishing,
 2009

 “Prejudgment interest proposal issues debated – Pro: Statute would rectify
 injustice, follow a trend,” ISBA Bar News, February 2009

 “Art of the Business Meal or Mama Always Said . . .,” SOLO Newsletter, ABA GP
 | Solo and Small Firm Division, Vol. 12, No. 2, June 2006

 “Tips for creating your own living will,” Huntley Journal (NW Herald), Page 25,
 Thursday, March 16, 2006

 “Art of the Business Meal or Mama Always Said . . . “
 SOLO Newsletter, ABA GP | Solo and Small Firm Division, Vol. 12, No. 2, June
 2006

 SEMINARS / PRESENTATIONS

 Social Media, Ethics and Professionalism in Bankruptcy
 Webinar via Zoom
 South Jersey Legal Services, Inc.
 June 11, 2020
 cv Robert C Thurston, Esq.
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 Ask The Expert (Facebook Live)
 Decoding Dyslexia Wisconsin
 September 25, 2018

 The Case For A Private Cause of Action For Bullying
 New Jersey Institute for Continuing Legal Education
 New Jersey Law Center, New Brunswick, NJ
 August 7, 2018

 Legal Transition Options for Kids with Disabilities
 LDANJ Spring Transitions Conference
 Learning Disabilities Association of New Jersey
 June 3, 2018

 Getting Schools To Use “Dyslexia” In IEPs
 Facets of Dyslexia Conference
 Cooper Hospital Learning Center
 Stratford, NJ
 April 24, 2018

 Transitions for Kids with Disabilities – Legal Perspective
 Y.A.L.E. School
 Cherry Hill, NJ
 March 26, 2018

 Aspects of Special Education Law
 2018 Spring Parent Dyslexia Summit
 Online: Simple Words Books
 March 26, 2018

 ESY and Compensatory Education: What They Are and How To Get Them
 Families of Special Kids Network
 Williamstown, NJ
 February 24, 2018

 How To Speak To Your Child’s School To Meet The Special Needs, Remedial and
 Advanced
 Barnes & Noble
 Moorestown, NJ
 November 28, 2017




 cv Robert C Thurston, Esq.
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 Introduction to Special Education Law: Common Violations of Special Education
 Law By School Districts and What Parents Can Do To Fight For a Child’s Rights
 Families of Special Kids Network
 Williamstown, NJ
 October 23, 2017

 Special Education Law Basics
 South Jersey Paralegal Association
 Mt. Laurel, NJ
 May 23, 2017

 Special Education Law and Advocacy Workshop Series
 Decoding Dyslexia PA
 Phoenixville, PA
 April 27, 2017

 Special Education Law Basics
 Family Partners of Hudson County
 Jersey City, NJ
 January 24, 2017

 Special Education Law 101
 Workshop
 Mt. Laurel, NJ
 November 12, 2016

 Special Education Law Basics
 Family Services Organization of Burlington County
 Lumberton, NJ
 June 9, 2016

 An Introduction to Special Education Law
 Google Hangouts
 May 26, 2016

 Special Education Law Basics
 Family Services Organization of Burlington County
 Lumberton, NJ
 November 9, 2015

 Overview of Special Education Services – Lunch and Learn
 General Electric Healthcare Women’s Network
 Princeton, NJ
 May 22, 2014


 cv Robert C Thurston, Esq.
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 What to Expect at an IEP/504 Meeting
 MDA Greater Lehigh Valley Muscle Summit
 Allentown, PA
 November 9, 2013

 Special Education Ethical Considerations: We’re Not Your Mother’s Ethics CLE
 Pennsylvania Bar Institute / Exceptional Children Conference
 Lancaster, PA
 October 22, 2012

 Autism Awareness
 Immaculate Conception School
 Chicago, IL
 February 16, 2011

 Estate Planning Basics
 National Business Institute, Inc.
 DeKalb, IL
 December 17, 2008

 Advising Business Clients
 McHenry County Bankers Federation
 Huntley, IL
 June 10, 2008

 Estate Planning: Beyond Probate
 McHenry County Bankers Federation
 Huntley, IL
 September 11, 2007

 Scanning for the OCR Challenged
 Chicago Bar Association
 Chicago, IL
 January 12, 2007

 Electronic Discovery: Managing the Data
 Various Locations
 2003-2004

 Legal Research on the Internet
 Various Locations
 1997-1999




 cv Robert C Thurston, Esq.
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 TEACHING EXPERIENCE

 Comparative Business Entities for Paralegals, LEX 125
 Fall 2020
 Rowan College Burlington County, Mt. Laurel, NJ

 Introduction to Bankruptcy Law for Paralegals, LEX 123
 Spring 2020
 Rowan College Burlington County, Mt. Laurel, NJ

 Comparative Business Entities for Paralegals, LEX 125
 Fall 2019
 Rowan College Burlington County, Mt. Laurel, NJ

 Business Law, BUS 240
 Spring 2007
 McHenry County College, Crystal Lake, IL

 Legal Environment of Business, BUS 241
 Academy – Fall 2006
 McHenry County College, Crystal Lake, IL

 Environmental Law for Paralegals, PLS 206
 Spring 2006
 Harper College, Palatine, IL




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                 Exhibit B
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                 Thurston Law Offices LLC                                                                          Invoice
                 100 Springdale Rd A3
                 PMB 287                                                                                 Date            Invoice #
                 Cherry Hill NJ 08003                                                                  12/6/2021            2202
                                                                   EXHBIIT B


     Bill To
                                                                                                             Due Date
   MREDACTED
            AREDACTED
   c/o JOHN RUE & ASSOCIATES
   1 Fairview Ave, Ste 14                                                                                    12/6/2021
   Phillipsburg, NJ 08865-1230




           Project




    Service Date                                 Description                                    Time               Amount

11/29/2021           Review draft email / correspondence to clients re transition of                   0.3                145.50
                     counsel and legal advice and strategy in case going forward; legal
                     analysis re same;
11/30/2021           Prepare Appearance on behalf of plaintiff; file and serve via ECF;                0.2                 97.00
11/30/2021           Develop case strategy and legal analysis of fee petition and strategy             1.1                533.50
                     re settlement;
11/30/2021           Receive and review correspondence to Wall Twp counsel re status                   0.2                  97.00
                     of fee petition and settlement potential; legal analysis re same;




                                                                                                   Total                 $873.00
    Case 3:20-cv-05218-JBD                 Document 33-3              Filed 02/11/22         Page 18 of 21 PageID: 460

                  Thurston Law Offices LLC                                                                        Invoice
                  100 Springdale Rd A3
                  PMB 287                                                                               Date            Invoice #
                  Cherry Hill NJ 08003                                                                 1/2/2022            2216




     Bill To
                                                                                                             Due Date
   M        AREDACTED
     REDACTED


   c/o JOHN RUE & ASSOCIATES
   1 Fairview Ave, Ste 14                                                                                    1/2/2022
   Phillipsburg, NJ 08865-1230




            Project




    Service Date                                  Description                                   Time              Amount

12/2/2021             Review accounting and other billing information in preparation of                1.1              533.50
                      fee application;
12/3/2021             Prepare Exhibit A re omnibus agreement and case strategy; legal                  0.4              194.00
                      strategy conference and case file discussion;
12/3/2021             Legal strategy and discussion re transition of case and remand                   0.2                 97.00
                      issues;
12/3/2021             Receive and review via email file transfer memo; legal analysis re               0.4              194.00
                      status of file and updated tasks;
12/3/2021             Legal analysis re claims and strategy discussion with co-counsel;                0.4              194.00
12/7/2021             Correspondence exchange and legal analysis re status of pro forma                0.3              145.50
                      on fees for settlement demand;
12/7/2021             Review billings in preparation for pro forma for both settlement                 1.4              679.00
                      discussion and fee petition as necessary; begin preparation of
                      consolidated pro forma fees;
12/7/2021             Receive and review via email supplemental pro formal billing                     0.5              242.50
                      information to update settlement demand and potential fee petition;
12/8/2021             Continued review of billings in preparation for pro forma for both               0.6              291.00
                      settlement discussion and fee petition as necessary; amend and
                      supplement preparation of consolidated pro forma fees; email to
                      co-counsel for review and comment;
12/9/2021             Amend and supplement pro forma with redactions and other legal                   1.8              873.00
                      protections for purposes of settlement; email to JRA re same;
12/9/2021             Receive and review via email correspondence with settlement                      0.3              145.50
                      demand to district counsel and attaching redacted fees pro forma;
                      analysis re same;
12/10/2021            Receive and review multiple correspondence re settlement                         1.1              533.50
                      discussions and tolling filing of fee petition pending negotiations;
                      prepare letter application to Judge Wolfson for 30 day tolling of
                      filing fee petition and proposed Order; receive and review
                      objections of WTBOE counsel re language in proposed Order;
                      amend proposed Order; file and serve via ECF;
12/13/2021            Receive and review via ECF Order signed by Judge Wolfson                         0.2                 97.00
                      granting tolling of fee petition filing by 30 days to 1/13/2022;
                      docket same and legal analysis;


                                                                                                   Total

                                                                 Page 1
    Case 3:20-cv-05218-JBD                    Document 33-3             Filed 02/11/22       Page 19 of 21 PageID: 461

                    Thurston Law Offices LLC                                                                      Invoice
                    100 Springdale Rd A3
                    PMB 287                                                                             Date              Invoice #
                    Cherry Hill NJ 08003                                                               1/2/2022             2216




       Bill To
                                                                                                             Due Date
   MREDACTED   REDACTED


   1 Fairview Ave, Ste 14                                                                                    1/2/2022
   Phillipsburg, NJ 08865-1230




            Project




    Service Date                                    Description                                 Time              Amount

12/16/2021                Strategy meeting and legal discussing re status of case and file             0.3                145.50
                          review;
12/16/2021                Receive and review via email correspondence from WTBOE                       0.1                 48.50
                          counsel re status of settlement negotiations and presentation to
                          BOE;
12/16/2021                Receive and review via email correspondence to WTBOE counsel                 0.1                 48.50
                          re settlement discussions;
12/19/2021                Prepare status report with legal analysis, strategy, and advice;             0.5                242.50
12/28/2021                Multiple correspondence exchanges re fee petition and pro forma              0.3                145.50
                          for purposes of filing in federal court;




                                                                                                   Total                $4,850.00


                                                                   Page 2
    Case 3:20-cv-05218-JBD                 Document 33-3                Filed 02/11/22          Page 20 of 21 PageID: 462

                  Thurston Law Offices LLC                                                                           Invoice
                  100 Springdale Rd A3
                  PMB 287                                                                                  Date              Invoice #
                  Cherry Hill NJ 08003                                                                    2/6/2022             2236




     Bill To
                                                                                                                Due Date
   Micayla Augustyn
   c/o JOHN RUE & ASSOCIATES
   1 Fairview Ave, Ste 14                                                                                       2/6/2022
   Phillipsburg, NJ 08865-1230




            Project




    Service Date                                  Description                                      Time              Amount

1/3/2022              Review file and prepare status report to JRA and file with next steps               0.5                242.50
                      items;
1/6/2022              Correspondence exchange and strategy discussion re fee                              0.3                145.50
                      application; legal analysis re same;
1/7/2022              Continue preparation of fee petition;                                               0.8                388.00
1/8/2022              Begin draft of fee application; review prior drafts and                             1.5                727.50
                      correspondence exchanges with co-counsel re strategy and legal
                      advice;
1/9/2022              Continue preparation of fee application; review file and forms for                  1.6                776.00
                      compliance with local rules;
1/9/2022              Legal research and begin draft of fee petition; strategy discussion                 1.1                533.50
                      and legal analysis re scope of petition, necessary supporting
                      certifications and documents, and related issues;
1/10/2022             Extensive strategy discussion and legal analysis re fee petition,                   2.2               1,067.00
                      tolling of time to file, settlement position, and interaction with
                      WTBOE counsel;
1/10/2022             Prepare letter application to Court re extension of time / tolling of               0.4                194.00
                      time to file fee petition; correspondence exchanged with WTBOE
                      re changes and approval of final version; file and serve same via
                      ECF;
1/10/2022             Strategy discussion, legal research, and legal analysis re fee petition             0.6                291.00
                      issues;
1/11/2022             Receive and review via ECF Order granting extension of time /                       0.2                 97.00
                      tolling of time to file fee petition; email to co-counsel re same and
                      legal analysis;
1/13/2022             Multiple correspondence exchanges and draft fee petition                            0.5                242.50
                      certifications re filing fee petition;
1/17/2022             Legal strategy discussion re fee application certifications and status              0.2                 97.00
                      of application;
1/25/2022             Strategy discussion re status of settlement negotiations and fee                    0.3                145.50
                      petition and legal advice re same;




                                                                                                      Total                $4,947.00
    Case 3:20-cv-05218-JBD                 Document 33-3              Filed 02/11/22         Page 21 of 21 PageID: 463

                  Thurston Law Offices LLC                                                                        Invoice
                  100 Springdale Rd A3
                  PMB 287                                                                               Date              Invoice #
                  Cherry Hill NJ 08003                                                                 2/9/2022             2257




     Bill To
                                                                                                             Due Date
   M        AREDACTED
     REDACTED


   c/o JOHN RUE & ASSOCIATES
   1 Fairview Ave, Ste 14                                                                                    2/9/2022
   Phillipsburg, NJ 08865-1230




            Project




    Service Date                                  Description                                   Time              Amount

2/4/2022              Review file and prepare status report;                                           0.7                339.50
2/6/2022              Email exchange and strategy discussion re fee petition and drafts of             0.2                 97.00
                      petition;
2/8/2022              Amend and supplement fee petition and supporting documents;                      1.6                 776.00
2/9/2022              Amend and supplement fee petition and supporting documents;                      3.4               1,649.00
                      prepare Cert RCT; prepare for final and filing;




                                                                                                   Total                $2,861.50
